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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                             No. 9:18-cv-80283-Dimitrouleas/Matthewman

  ADT LLC, and ADT US HOLDINGS, INC.,

         Plaintiffs,

                 v.

  NORTHSTAR ALARM SERVICES LLC,
  and VISION SECURITY, LLC,

        Defendants.
  _______________________________________/

                 ADT’S ANSWER TO THE NORTHSTAR COUNTERCLAIM

         Plaintiff ADT LLC, for its answer to defendant NorthStar Alarm Service’s amended

  counterclaim, [DE 21 at 12-25] states as follows:

                             PARTIES, JURISDICTION, AND VENUE

         1.      Admitted.

         2.      Admitted.

         3.      Admitted.

         4.      Admitted.

         5.      Admitted.

                                   GENERAL ALLEGATIONS

         6.      Admitted.

         7.      ADT is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in Paragraph 7 and therefore denies them.

         8.      Denied.

         9.      Admitted.
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         10.    ADT admits that ADT’s alarm systems and alarm monitoring services are sold in

  part through independent ADT authorized dealers. ADT denies that the dealers are agents of

  ADT and also denies the paragraph’s remaining allegations.

         11.    Denied.

         12.    Denied.

         13.    Denied.

         14.    Denied.

         15.    Denied.

         16.    Denied.

         17.    Denied.

         18.    Denied.

         19.    Denied.

         20.    Denied.

         21.    Denied.

                            Count I: Unfair Competition In Violation
                          of the Lanham Act, 15 U.S.C. § 1125(A)(1)(A)

         22.    ADT incorporates its responses to Paragraphs 1 through 21 as if set forth fully here.

         23.    ADT is without knowledge or information sufficient to form a belief as to the

  truth of the allegations regarding ownership of NorthStar’s trademarks and therefore denies

  them. ADT denies the paragraph’s remaining allegations.

         24.    Denied.

         25.    Admitted.

         26.    Denied.

         27.    Denied.


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         28.     Denied.

         29.     Denied.

         30.     The paragraph states a legal conclusion. To the extent it alleges facts, ADT

  denies them.

         31.     ADT admits that over the past decade it has sued a dozen other alarm services

  companies, in a market of over 13,000 competitors, who have proven to be chronic violators of

  the Lanham Act over time. ADT denies the paragraph’s remaining allegations.

         32.     The paragraph states a legal conclusion. To the extent it alleges facts, ADT

  denies them.

         33.     The paragraph states a legal conclusion. To the extent it alleges facts, ADT

  denies them.

         WHEREFORE, ADT respectfully requests that the Court enter judgment in its favor and

  dismiss Count I.

                                   Count II: Unfair Competition

         34.     ADT incorporates its responses to Paragraphs 1 through 21 as if set forth fully here.

         35.     Admitted.

         36.     Denied.

         37.     Denied.

         38.     Denied.

         39.     Denied.

         40.     ADT admits that over the past decade it has sued a dozen other alarm services

  companies, in a market of over 13,000 competitors, who have proven to be chronic violators of

  the Lanham Act over time. ADT denies the paragraph’s remaining allegations.




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          41.     The paragraph states a legal conclusion. To the extent it alleges facts, ADT

  denies them.

          WHEREFORE, ADT respectfully requests that the Court enter judgment in its favor and

  dismiss Count II.

                                    AFFIRMATIVE DEFENSES

                             First Affirmative Defense: Unclean Hands

          NorthStar has unclean hands. NorthStar claims that ADT sales representatives make

  false statements of NorthStar affiliation when the representatives are trying to make a sale.

  Although ADT denies that its sales representatives engage in such tactics, and ADT disagrees

  with the Court’s preliminary application of the unclean hands doctrine to the parties’ allegations

  in this case for the purposes of Rule 12(b)(6), [DE 42 at 6] ADT has alleged that NorthStar

  representatives use the very tactics of which NorthStar complains to try to lure ADT customers

  to sign NorthStar contracts in violation of Section 43(a) of the Lanham Act, as set forth more

  fully in ADT’s Complaint, and to this end incorporates its Complaint here by reference, as if set

  forth fully here.

                        Second Affirmative Defense: Statute of Limitations

          NorthStar’s claims are barred, in whole or in part, by the four-year statute of limitations

  with respect to any alleged ADT violations occurring prior to April 6, 2014.

                                Third Affirmative Defense: Release

          As this Court found in Case No. 9:12-cv-81120, NorthStar and Vision Security LLC

  merged as of January 16, 2015. As Vision’s successor by merger, NorthStar is bound by the

  general release given by Vision in ADT’s favor as part of Vision’s November 20, 2014,

  settlement with ADT in Case No. 9:13-cv-81197.




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  Dated: October 3, 2018                        Respectfully submitted,
                                                McNEW P.A.
                                                /s/ C. Sanders McNew
                                                _______________________________________________________________________

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                                                Counsel for the Plaintiffs, ADT LLC
                                                 -and- ADT US Holdings, Inc.




                                   CERTIFICATE OF SERVICE

          I hereby certify that on this third day of October, 2018, I caused a true and correct copy
  of the foregoing Answer to be served by CM/ECF on all parties listed to receive electronic
  service for this case.


                                                                s/ C. Sanders McNew
                                                           ______________________________
                                                                   C. Sanders McNew




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